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 7                              UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                    No. 2:15-cr-213-2 GEB
11                     Plaintiff,
12          v.                                    Stipulation and [Proposed] Order
                                                  For Continuance
13   Marco Antonio Avila-Benitez,
                                                  Date: August 26, 2016
14                     Defendants.                Time: 9:00 a.m.
                                                  Judge: Hon. Garland E. Burrell, Jr.
15

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18
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19
     Amanda Beck, counsel for Plaintiff, and Jeffrey L. Staniels, counsel for Defendant Marco
20
     Avila-Benitez, that proceedings for judgment and sentencing currently set for August 26,
21
     2016, be vacated, and that this matter be continued until September 16, 2016, at 9:00 a.m.
22
            This short continuance is sought to accommodate an unexpected scheduling
23
     conflict so as to permit the orderly and timely presentation of any objections and/or
24
     sentencing memoranda given the schedule of defense counsel. Both government counsel
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     and the assigned U.S. Probation Officer have advised that they are available on September
26
     16, 2016.
27
            The Speedy Trial Act is not implicated by this short post-entry-of-guilty-plea
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                                                  1
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 1   continuance.
 2                                           Respectfully submitted,
 3
           Dated: August 2, 2016             s/ Amanda Beck ,
 4
                                             Amanda Beck
 5
                                             Assistant U.S. Attorney
                                             Counsel for Plaintiff
 6

 7         Dated: August 2, 2016             /s/ Jeffrey L. Staniels
                                             Jeffrey L. Staniels
 8                                           Attorney for Marco Avila-Benitez
 9
10
                                              ORDER
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12
           The above stipulation of counsel is hereby GRANTED. Sentencing proceedings
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     scheduled for August 26, 2016, are VACATED, and this case is continued until
14
15   September 16, 2016 at 9:00 a.m. for sentencing.

16         IT IS SO ORDERED.

17         Dated: August 3, 2016



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